             Case 3:16-md-02741-VC Document 2602 Filed 01/30/19 Page 1 of 6



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     Co-Lead Counsel for Plaintiffs
17

18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
19

20
      IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
21    LIABILITY LITIGATION
                                                      Case No. 16-md-02741-VC
22
      This document relates to:                       PLAINTIFFS’ NOTICE OF
23
                                                      UNOPPOSED MOTION AND
24    Hardeman v. Monsanto Co., et al.,               UNOPPOSED MOTION IN
      3:16-cv-0525-VC;                                LIMINE NO. 9 TO EXCLUDE
25    Stevick v. Monsanto Co., et al.,                ANY EVIDENCE AND
      3:16-cv-02341-VC;                               TESTIMONY REGARDING
26
      Gebeyehou v. Monsanto Co., et al.,              SMOKING
27    3:16-cv-5813-VC

28                                             1
     PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 9 TO EXCLUDE ANY EVIDENCE AND TESTIMONY
                                     REGARDING SMOKING
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     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
3
     PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the United
4
     States District Court, Northern District of California, located at 450 Golden Gate Avenue, San
5
     Francisco, CA 94102, or as ordered by the Court, Plaintiffs will present their Unopposed Motion
6
     in Limine to Exclude any Evidence and Testimony Regarding Smoking.               A supporting
7
     memorandum is filed herewith.
8
     Dated: 1/30/2019                                   Respectfully submitted,
9

10                                                      /s/ Aimee Wagstaff
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15                                                      /s/ Robin Greenwald
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     PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 9 TO EXCLUDE ANY EVIDENCE AND TESTIMONY
                                     REGARDING SMOKING
             Case 3:16-md-02741-VC Document 2602 Filed 01/30/19 Page 3 of 6



1
                        MEMORANDUM OF POINTS AND AUTHORITIES
2
            Plaintiffs hereby submit the following memorandum of points and authorities in support of
3
     their unopposed motion in limine to preclude any mention of the fact that Plaintiff smoked
4
     cigarettes approximately 35 years ago. Defendant does not oppose this Motion.
5
            I.        INTRODUCTION
6
            In February 2015, Mr. Edwin Hardeman was diagnosed with Non-Hodgkin’s lymphoma
7
     (“NHL”) specifically, diffuse large b cell lymphoma (“DLBCL”) after spraying Defendant
8
     Monsanto’s glyphosate-based herbicide, Roundup® on his 56-acre property for 24 years, from
9

10
     1988 through 2012. Mr. Hardeman’s frequency of exposure was intense, involving routine

11   monthly sprays from approximately May through November of each year. He also suffered acute

12   exposure due to spills or other instances when the Roundup® he was spraying came into contact

13   with his skin.

14          During his deposition, Mr. Hardeman testified that he smoked cigarettes from the time he

15   was around eighteen years old, until he quit in 1980, a total of approximately 15 years. (Exhibit 1,
16   Hardeman Dep. 132:25.) Mr. Hardeman stopped smoking 35 years before being diagnosed with
17   NHL. None of Monsanto’s experts testify that Mr. Hardeman’s former cigarette use was a cause
18   of his diagnosis of NHL. Any testimony regarding same is irrelevant, inflammatory and unfairly
19   prejudicial to Plaintiff’s case and should be excluded.
20          II.       ARGUMENT
21
            A. Defendant Did Not and Can Not Proffer Any Evidence To A Reasonable Degree
22             Of Medical Certainty That Smoking Was a Factor That Caused Mr. Hardeman’s
               NHL Diagnosis.
23
            It is anticipated that Defendant will attempt to introduce evidence of Mr. Hardeman’s
24
     former cigarette use from 35 years ago, although such arguments have no scientific basis. Indeed,
25

26
     such social history has no connection to the development of DLBCL, the subtype of NHL at issue

27   in this case. Each of Defendant’s expert’s reports note that the cause of NHL is unknown. See

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     PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 9 TO EXCLUDE ANY EVIDENCE AND TESTIMONY
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     Levine Report, p. 6; Steidl Report, p. 14; Grossbard Report, p. 3. Further, none of Defendant’s
2
     experts opine that his former smoking was a factor in causing his NHL. Thus, Defendant is unable
3
     to proffer any evidence to a reasonable degree of medical certainty that Mr. Hardeman’s usage of
4
     cigarettes from 35 years ago caused or contributed to his NHL. As such, evidence regarding
5
     smoking would serve only to inflame, confuse and mislead jurors, not assist them in determining
6
     the ultimate issues in this case.
7
             B. Evidence Regarding Smoking Is Irrelevant And Prejudicial.
8
             Evidence may be excluded if its probative value is substantially outweighed by the
9

10
     probability that admission will create a substantial danger of unfair prejudice. FRE 403. That is

11   precisely the case here. Evidence of smoking is unrelated to the issues in this case and the unfair

12   prejudice of such evidence substantially outweighs any potential probative value. Moreover, the

13   inflammatory nature of evidence regarding smoking may influence jurors’ ability to render

14   decisions based on the merits of the case, and instead focus on the implicit and explicit biases

15   associated with smoking. United States v. Hitt, 981 F.2d 422, 424 (9th Cir. 1992) (evidence should
16   be excluded where it arouses prejudices and promotes incorrect conclusions). Where the evidence
17   is of only slight, if any, probative value, it is an abuse of discretion to admit it if there’s even a
18   modest likelihood of unfair prejudice or a small risk of misleading the jury. Id. (emphasis added).
19           Here, there is no probative value from the admission of evidence concerning cigarette
20   smoking, which Mr. Hardeman ceased 35 years ago. Admission of this evidence will necessarily
21
     result in prejudice, potentially creating in jurors’ minds the untrue inference that such past behavior
22
     resulted, in whole or in part, in Mr. Hardeman’s DLBCL diagnosis, for which there is no scientific
23
     basis and for which Monsanto has not previously asserted. Accordingly, this evidence would
24
     mislead and confuse jurors and should be excluded. See Cohn v. Papke, 655 F.2d 191 (9th Cir.
25
     1981) and Piatt v. Goldsmith, 1991 U.S. App. LEXIS 17776 (9th Cir. 1991).
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     PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 9 TO EXCLUDE ANY EVIDENCE AND TESTIMONY
                                     REGARDING SMOKING
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            III.   CONCLUSION
2
            For the foregoing reasons, Plaintiff respectfully requests that this Court exclude the
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     evidence as requested.
4
     Dated: 1/30/2019                                  Respectfully submitted,
5

6
                                                       /s/ Aimee Wagstaff______________
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22                                                     Plaintiffs’ Co-Lead Counsel

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     PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 9 TO EXCLUDE ANY EVIDENCE AND TESTIMONY
                                     REGARDING SMOKING
             Case 3:16-md-02741-VC Document 2602 Filed 01/30/19 Page 6 of 6



1
                                    CERTIFICATE OF SERVICE
2
            I certify that on January 30, 2019, I electronically filed the foregoing document with the
3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
4
     CM/ECF participants registered to receive service in this MDL.
5

6
                                                        /s/ Aimee Wagstaff______________
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     PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 9 TO EXCLUDE ANY EVIDENCE AND TESTIMONY
                                     REGARDING SMOKING
